                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


  CHARLES LYONS,
            Plaintiff(s), vs.
                                                       CIVIL ACTION FILE
  US LIVING LLC, YEHONOTAN SADE,
  and SADE CAPITAL,                               NO. 1:24-CV-0033-MHC


                      Defendant(s).


                                           JUDGMENT

       This action having come before the court, Honorable Mark H. Cohen, United States

District Judge, for consideration, it is

       Ordered and Adjudged that the action be DISMISSED AS FRIVOLOUS pursuant

to 28 U.S.C. § 1915(e)(2)(B)(ii).

       Dated at Atlanta, Georgia, this 27th day of March, 2024.


                                                       KEVIN P. WEIMER
                                                       CLERK OF COURT


                                                 By: s/Daniel Ross
                                                      Deputy Clerk

Prepared, Filed, and
Entered in the Clerk’s Office
March 27, 2024
Kevin P. Weimer
Clerk of Court

 By:    s/Daniel Ross
       Deputy Clerk
